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A 0 245B (Rev 12/03) Sheet 1 - Judgment in a Criminal Case


                            UNITED STATES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DIVISION



UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE

                                                              CASE NUMBER:        8:05-cr-344-T-23TBM
                                                              USM NUMBER:         48074-018
VS.



EDWARD LONDON0 GALLEGO
                                                              Defendant's Attorney : Peter Anthony Sartes, cja

THE DEFENDANT:

X pleaded guilty to count ONE of the Indictment.


TITLE & SECTION                     NATURE OF OFFENSE                                    OFFENSE ENDED             COUNT

46 Appendix, U.S.C. 5 1903(a), Conspiracy to Possess With Intent to Distribute           August 11, 2005           ONE
1903(g), and 1903(j), and 21   5 Kilograms or More of Cocaine While Aboard
U. S.C. 5 960(b)(l)(B)(ii)     Vessels Subject to the Jurisdiction of the United
                               States

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

-
X Count TWO is dismissed in accordance with the plea agreement.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                Date of Impositio~lof Sentence: January 23, 2006




                                                                                                                             w
                                                                                      STEVEN D. MERRYDAY
                                                                                UNITED STATES DISTRICT JUDGE

                                                                                DATE: January     gJT2006
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A 0 245B (Rev 12/03) Sheet 2 - Irilprisonnlent
Defendant:          EDWARD LONDON0 GALLEGO                                                                  Judgment - Page 2 of 6
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                                                             IMPRISONMENT

                The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of ONE HUNDRED EIGHT (108) MONTHS as to count one of the Indictment.




 X The court makes the following recommendations to the Bureau of Prisons: that the defendant be placed in FCI Miami,
Florida.



-
X The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.
             at - a.m./p. 111. on -.
          - as notitied by the United States Marshal.

- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
          - before 2 p.m. on -,
          - as notified by the United States Marshal.
          - as notified by the Probation or Pretrial Services Office.



                                                                    RETURN

          I have executed this judgmeilt as follows:




          Defendant delivered on                                                  to

at                                                                        , with a certified copy of this judgment.



                                                                                         United States Marshal

                                                                        By:
                                                                        Deputy Marshal
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A 0 245B (Rev. 12/03) Sheet 3 - Supervised Release

Defendant:        EDWARD LONDON0 GALLEGO                                                                   Judgment - Page 3 of 6
Case No. :        8:05-cr-344-T-23TBM

                                                       SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term of SIXTY (60) MOhTIIS as to
count one of the Indictment.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release, the defendant shall not commit another federal, state, or local crime, and shall not possess a
firearm, anmunition, or destructive device as defined in 18 U.S.C. 5 92 1.

X        The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
         controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
         authorizes random drug testing not to exceed 104 tests per year.

X
-        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

         If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance with
         the Schedule of Payments sheet of this judgment.

         The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
         conditions on the attached page.
                                         STANDARD CONDITIONS OF SUPERVISION
11       the defendant shall not leavc the judicial district without the permission of the court or probation officer;

2)       the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
         of each month;

3)       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthc probation officer;

4)       the defendant shall support his or her dependents and meet other family responsibilities;

5)       the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training. or othcr
         acceptable reasons:

6)       the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7)       the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, usc, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician:

8   >    thc defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered:

9        the defendant shall not associatc with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;

10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhcrc and shall permit confiscation of
         any contraband observed in plain view of the probation officer;

I 1)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officcr;

12)      the defendant shall not entcr into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court;

13)      as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officcr to make such notifications and to confirm the
         defendant's compliance with such notification requirement.
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A 0 245B (Rev. 12/03) Sheet 3C - Supervised Release

Defendant:                                                                                            Judgment - Page 4 of 6
Case No. :
                                        SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:


X
-        The defendant shall participate in a program (outpatient andlor inpatient) for treatment of narcotic addiction or drug or alcohol
         dependency and follow the probation officer's instructions regarding the implementation of this court directive. This program
         may include testing for the detection of substance use or abuse not to exceed an amount determined reasonable by the
         Probation Office's Sliding Scale for Substance Abuse Treatment Services. Upon completion of a drug or alcohol dependency
         treatment program, the defendant is directed to submit to testing for the detection of substance use or abuse not to exceed 104
         times per year.

-
X        If the defendant is deported. he shall not re-enter the United States without the express permission of the appropriate
         governmental authority, currently the United States Department of Homeland Security.
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A 0 245B (Rev 12/03) Sheet 5 - Criminal Monetary Penalties

Defendant:         EDWARD LONDON0 GALLEGO                                                          Judgment - Page 5 of 6
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                                          CRIMINAL MONETARY PENALTIES

         The defendant Inust pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                           Assessment                          -
                                                               Fine                       Total Restitution

         Totals:           $100.00                             $ waived                   $


-        The determination of restitution is deferred until        .    An Anzerlded Judgnlent in a Crii?lirlal Case (A0 245C) will
         be entered after such determination.
-        The defendant must make restitution (including community restitution) to the following payees in the amount listed
         below.
         If the defendant makes a partial payment. each payee shall receive an approxinlately proportioned payment. unless
         specified otherwise in the priority order or percentage pa merit colunln below. However, pursuant to 18 U.S.C. 5
         3664(i). all non-federal victims must be paid before the dnited States.
                                                                                                            Priority Order or
                                               *Total                      Amount of                        Percentage of
Name of Payee                                Amount of Loss             Restitution Ordered                 Pawnent




                           Totals:

 -        Restitution amount ordered pursuant to plea agreement $
 -        The defendant shall ay interest on any fine or restitutio~iof more than $2,500, unless the restitution or fine is paid in full
          before the fifteenthiy after the date of the judgment, pursuant to 18 U.S.C. 5 3612(t). All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 36 12(g).
 -        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -         the interest requirement is waived for the - fine      - restitution.
         -         the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total anlount of losses are required under Cha ters 109A, 110, 1lOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23. 1896.
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A 0 2453 (Rev 12/03) Sheet 6 - Schedule of Payments

Defendant:        EDWARD LONDON0 GALLEGO                                                            Judgment - Page 6of 6
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                                                  SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.         X      Lump sum payment of $ 100.00 due immediately, balance due
                            -not later than                   , Or
                            -in accordance - C, - D, - E or - F below; or
B.       -        Payment to begin immediately (may be combined with -C , -D, or -F below); or
C.       -        Payment in equal                 (e .g ., weekly, monthly, quarterly) installinents of $              over a
                  period of          (e.g., months or years), to commence                days (e.g . , 30 or 60 days) after the
                  date of this judgment; or
D.       -        Payment in equal                 ( e . k , weekly, monthly, quarterly) installments of $             over a
                  period of             , (e.g ., mont s or years) to commence                      (e.g. 30 or 60 days) after
                  release from imprisonment to a term of supervision; or
E.       -         Payment during the term of supervised release will commence within                         (e.g., 30 or
                   60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                   the defendant's ability to pay at that time, or
F.       -         Special instructions regarding the payrnent of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of im                                    of criminal
monetar penalties is due during im risonment. All criminal monetary penalties, except
         ii                             b
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made to the
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) comnlunity restitution. (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
